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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 STEPHEN KNOWLES, TRUSTEE, BRICKLAYERS OF       )
 INDIANA RETIREMENT PLAN, BRICKLAYERS & TROWEL )
  TRADES INTERNATIONAL PENSION FUND,            )
  BRICKLAYERS & ALLIED CRAFTWORKERS             )
 INTERNATIONAL HEALTH FUND, BAC 4 IN/KY         )
 APPRENTICESHIP & TRAINING PROGRAM,             ) Case No: 1:25-cv-880
 INTERNATIONAL UNION OF BRICKLAYERS AND         )
 ALLIED CRAFTWORKERS LOCAL 4 OF INDIANA &       )
 KENTUCKY, and BRICKLAYERS UNION NO. 1 OF       )
 KENTUCKY PENSION TRUST FUND                    )
                                                )
                                                )
                       Plaintiffs,              )
                                                )
                       v.                       )
                                                )
 GILLESPIE & POWERS, INC., a foreign for-profit )
 corporation,                                   )
                                                )
                       Defendant.               )

                                          COMPLAINT

        Plaintiffs, by their attorneys, DONALD D. SCHWARTZ and ARNOLD AND KADJAN,

 LLP, complain against Defendant, GILLESPIE & POWERS, INC., as follows:

                                 JURISDICTION AND VENUE

 1.     (a)    Jurisdiction of this cause is based upon Section 502 of the Employee Retirement

 Income Security Act of 1974, 29 U.S.C. Section 1132 ("ERISA") and 29 U.S.C. 1145 as amended.

        (b)    Venue is founded pursuant to 29 U.S.C. Section 1132(e) (2) in this district, where the

 Funds as described in Paragraph 2, are administered and 29 U.S.C. Section 185(c).

                                            PARTIES

 2.     (a)    The Plaintiffs in this count are STEPHEN KNOWLES, TRUSTEE,

 BRICKLAYERS OF INDIANA RETIREMENT PLAN, BRICKLAYERS & TROWEL
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 TRADES INTERNATIONAL PENSION FUND, BRICKLAYERS & ALLIED

 CRAFTWORKERS INTERNATIONAL HEALTH FUND, BAC 4 IN/KY APPRENTICESHIP

 & TRAINING PROGRAM, INTERNATIONAL UNION OF BRICKLAYERS AND ALLIED

 CRAFTWORKERS LOCAL 4 OF INDIANA & KENTUCKY, and BRICKLAYERS UNION

 NO. 1 OF KENTUCKY PENSION TRUST FUND (“the Funds”), and have standing to sue

 pursuant to 29 U.S.C. Section 1132(d)(1).

        (b)     The Funds have been established pursuant to collective bargaining agreements

 previously entered into between the Bricklayers Union Local 4, IN/KY and its affiliated locals (the

 "Union") and certain employer associations whose employees are covered by the collective

 bargaining agreement with the Union.

        (c)     The Funds are maintained and administered in accordance with and pursuant to the

 provisions of the National Labor Relations Act, as amended, and other applicable state and federal

 laws and also pursuant to the terms and provisions of the agreements and Declarations of Trust

 which establish the Funds.

 3.     (a)     GILLESPIE & POWERS, INC. (hereafter "GILLESPIE"), is a foreign for-profit

 corporation, and is doing business within this Court's jurisdiction.

        (b)     GILLESPIE has its principal place of business in St. Louis, Missouri.

        (c)     GILLESPIE is an employer engaged in an industry affecting commerce.

 4.     Since June 1, 2017, GILLESPIE has entered into a collective bargaining agreement with

 the Union pursuant to which it is required to pay specified wages and to make periodic

 contributions to the Funds on behalf of certain of its employees. (Exhibit “A”)

 5.     By virtue of certain provisions contained in the collective bargaining agreements,

 GILLESPIE is bound by the Trust Agreement establishing the Funds.




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 6.     Under the terms of the collective bargaining agreements and Trust Agreements to which it

 is bound, GILLESPIE is required to make contributions to the Funds on behalf of their employees

 and, when given reasonable notice by Plaintiffs or their representatives, to submit all necessary

 books and records to Plaintiff’s accountant for the purpose of determining whether or not it is in

 compliance with its obligation to contribute to the Funds.

        7.         An audit was completed for the Local Funds for the time period January 1, 2021

 through August 31, 2024 findings for $80,878.04, benefits, $8,078.04 10% liquidated damages, and

 $2,787.40 audit costs for a total amount due of $91,751.24 plus attorney’s fees and costs.

        8.         An audit was completed for the International Funds for the time period of January

 1, 2021 through August 31, 2024 findings for $14,969.86, benefits, $5,539.13 interest, $5,539.13

 additional interest and $1,832.60 audit costs for a total amount due of $27,880.72 plus attorney’s

 fees and costs.

        WHEREFORE, Plaintiffs pray for relief as follows:

        A.         Judgment be entered against GILLESPIE and in favor of Plaintiffs Local Funds, in

 the amount shown due under the Local Fund audit for $91,751.24 for the time period January 1,

 2021 through August 31, 2024, and International Fund audit for $27,880.72 for the time period

 January 1, 2024 through August 31, 2024.

        B.         Plaintiffs be awarded their attorneys’ fees, costs, interest, and liquidated damages

 pursuant to 29 U.S.C. 1132(g)(2) and Section 502(g)(2).

        C.         GILLESPIE be enjoined from violating the terms of the collective bargaining

 agreements and Trust Agreements by failing to make timely payments to the Funds and be ordered

 to resume making those payments.

        D.         This Court grant Plaintiffs such other and further relief as it may deem




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 appropriate under the circumstances.

                                        Respectfully submitted,

                                        STEPHEN KNOWLES, et. al.



                                        By:    /s/ Donald D. Schwartz
                                               Counsel for Plaintiffs’

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